                                                              1   Guttilla Murphy Anderson
                                                                  Alisan M. B. Patten (Ariz. No. 009795)
                                                              2   5415 E. High St., Suite 200
                                                                  Phoenix, Arizona 85054
                                                              3   Email: apatten@gamlaw.com
                                                                  Phone: (480) 304-8300
                                                                  Fax: (480) 304-8301
                                                              4
                                                                  Attorneys for Dina L. Anderson, the Chapter 7 Trustee
                                                              5

                                                              6                           IN THE UNITED STATES BANKRUPTCY COURT

                                                              7                                   FOR THE DISTRICT OF ARIZONA

                                                              8    In Re:
                                                                                                                     Case No. 2:18-bk-11491-BKM
                                                              9
                                                                   Pennies2Platinum Business Solutions Inc.,         Chapter 7
Guttilla Murphy Anderson, P.C.




                                                             10
                            5415 E. High Street, Suite 200




                                                                                                                     TRUSTEE’S MOTION TO COMPEL
                                 Phoenix, AZ 85054




                                                             11                                   Debtor.
                                   (480) 304-8300




                                                                                                                     TURNOVER BY AMERICAN
                                                                                                                     ARBITRATION ASSOCIATION
                                                             12

                                                             13
                                                                            Dina L. Anderson, Chapter 7 Trustee in the bankruptcy case captioned-above, (“Trustee”)
                                                             14
                                                                  respectfully requests an order of this Court pursuant to 11 U.S.C. §§ 541 and 542 or 543 directing
                                                             15
                                                                  and compelling the American Arbitration Association (“AAA”) to turn over to the Trustee
                                                             16
                                                                  $22,063.75 in refundable funds on deposit (“Refundable Deposit”) that is property of the
                                                             17
                                                                  bankruptcy estate of debtor Pennies2Platinum Business Solutions Inc. dba Pennies 2 Platinum, Inc.
                                                             18
                                                                  (“Bankruptcy Estate”). The Refundable Deposit is required by the Trustee to properly administer
                                                             19
                                                                  the Bankruptcy Estate. The Trustee’s motion is based upon the following facts and legal analysis.
                                                             20

                                                             21                                             I.     FACTS

                                                             22             1.    Debtor Pennies2Platinum Business Solutions Inc. dba Pennies 2 Platinum, Inc.

                                                             23   (“Debtor”) filed a Voluntary Chapter 7 bankruptcy petition on September 20, 2018 (“Petition

                                                             24   Date”). (See Court Docket Entry “DE” no. 1, p. 1 of 4.)

                                                              Case 2:18-bk-11491-BKM          Doc 30 Filed 03/14/19 Entered 03/14/19 12:00:35              Desc
                                                                                              Main Document    Page 1 of 7
                                                              1             2.   In section 7.1 of Debtor’s Bankruptcy Schedule A/B, Debtor reported having a

                                                              2   “Security deposit with the AAA in the amount of $57,200” with a reported “Unknown” value.

                                                              3   (See DE no. 9, page 3 of 27.)

                                                              4             3.   In section 74 of Debtor’s Bankruptcy Schedule A/B, Debtor reported owning

                                                              5   causes of action against third parties as follows: “Claims against Amazon Inc. which are the

                                                              6   subject of Case No. 01-17-6003-2625 pending before the American Arbitration Association” with

                                                              7   a reported “Unknown” value. Debtor described the nature of its claims as “Dispute regarding

                                                              8   charges” and the amount requested as “$250,000.00.” (See DE no. 9, p. 6 of 27.)

                                                              9             4.   In section 7.1 of Debtor’s Statement of Financial Affairs, Debtor reported a legal
Guttilla Murphy Anderson, P.C.




                                                             10   action in which it was involved as follows: “Pennies 2 Platinum, Inc. v. Amazon, Inc. 01-17-6003-
                            5415 E. High Street, Suite 200
                                 Phoenix, AZ 85054




                                                             11   2625.” It further reported the nature of the case as “Overcharges,” and the Court or agency’s name
                                   (480) 304-8300




                                                             12   as “American Arbitration Association” and the status of the case as “Pending.” (See DE no. 9, p.

                                                             13   18 of 27.)

                                                             14             5.   Debtor’s Bankruptcy Petition was signed, under penalty of perjury, by Justin Ligeri

                                                             15   as President of Debtor. (See DE no. 1, p. 4 of 4.)

                                                             16             6.   Debtor’s Bankruptcy Schedules were signed, under penalty of perjury, by Justin

                                                             17   Ligeri as President of Debtor. (See DE no. 9, p. 1 of 27.)

                                                             18             7.   Debtor’s Statement of Financial Affairs was signed, under penalty of perjury, by

                                                             19   Justin Ligeri as President of Debtor. (See DE no. 9, p. 5 of 27.)

                                                             20             8.   The Trustee’s investigation into this asset revealed that Debtor’s claims in

                                                             21   arbitration were initiated in Pennies2Platinum, Inc. f/k/a/ Yagoozon, Inc. v. Amazon Inc., Amazon

                                                             22   Services, LLC and Amazon Payments, Inc. in Case No. 01-17-0003-2625-1-LT (“Arbitration

                                                             23   Case”).

                                                             24
                                                                                                                       2

                                                              Case 2:18-bk-11491-BKM          Doc 30 Filed 03/14/19 Entered 03/14/19 12:00:35             Desc
                                                                                              Main Document    Page 2 of 7
                                                              1           9.     The Trustee has been informed, by AAA, that Debtor deposited $57,200.00 with

                                                              2   AAA in connection with the Arbitration Case and that, of that sum, $22,063.75 is refundable. (See

                                                              3   emails attached hereto as Exhibits “A”-“D”.)

                                                              4           10.    The Trustee advised AAA (and the attorneys representing Amazon Inc., Amazon

                                                              5   Services, LLC and Amazon Payments, Inc. (“Amazon”)1 that the Refundable Deposit was property

                                                              6   of the Bankruptcy Estate pursuant to 11 U.S.C.§ 541(a). (See email attached hereto as Exhibit

                                                              7   “E.”)

                                                              8           11.    In response to the email described in paragraph 10, supra, counsel for Amazon

                                                              9   objected to any release present release of the Refundable Deposit, as follows:
Guttilla Murphy Anderson, P.C.




                                                             10                  We are of course fine with the trustee receiving any information related to
                            5415 E. High Street, Suite 200




                                                                                 the status of these funds, but we want to ensure these funds are not
                                 Phoenix, AZ 85054




                                                             11                  prematurely refunded. The debtor initiated this arbitration and is obligated
                                   (480) 304-8300




                                                                                 to pay its share of arbitration costs, per the parties’ arbitration
                                                             12                  agreement. Amazon intends to pursue its counterclaims in this arbitration,
                                                                                 and the time has not passed for Amazon to file its claim in the bankruptcy
                                                             13                  and seek relief from stay. If and when Amazon resumes pursuit of its
                                                                                 counterclaims in the arbitration, the debtor will be responsible for paying
                                                             14                  its share of arbitration costs, and the deposits made to AAA are designed
                                                                                 to cover those costs. Thus, no portion of the debtor’s deposits to AAA
                                                             15                  should be refunded unless and until all deadlines have passed that would
                                                                                 preclude Amazon from pursuing its claims.
                                                             16
                                                                  (See email attached hereto as Exhibit “F.”)
                                                             17
                                                                          12.    The next day, counsel for Amazon provided to counsel for the Trustee a copy of
                                                             18
                                                                  Amazon’s Second Amended Answer to Arbitration Demand and Counterclaims dated July 30,
                                                             19
                                                                  2018. (The Second Amended Answer was captioned as: Pennies2Platinum, f/k/a Yagoozon, Inc.
                                                             20
                                                                  (Claimant) v. Amazon Inc., Amazon Services LLC, and Amazon Capital Services, Inc.
                                                             21

                                                             22
                                                                  1
                                                             23     According to footnote one in Amazon’s Second Amended Answer to Arbitration Demand and
                                                                  Counterclaims, Amazon Services, LLC, and not Amazon, Inc., is the proper respondent in the Arbitration
                                                                  Case.
                                                             24
                                                                                                                    3

                                                              Case 2:18-bk-11491-BKM          Doc 30 Filed 03/14/19 Entered 03/14/19 12:00:35               Desc
                                                                                              Main Document    Page 3 of 7
                                                              1   (Respondents/counterclaimants) v. Pennies2Platinum, Inc., f/k/a Yagoozon, Inc.,

                                                              2   Pennies2Platinum Business Solutions, Inc., and Justin Nicola Ligeri (Counterclaim respondents.)

                                                              3                                      II.     LEGAL ANALYSIS

                                                              4          13.     Pursuant to 11 U.S.C. § 541(a)(1), a bankruptcy estate is comprised of all legal or

                                                              5   equitable interests of the debtor in property as of the commencement of the case.

                                                              6          14.     Pursuant to 11 U.S.C. § 542, all persons in possession of estate assets are required

                                                              7   to turn over those assets, or the value of those assets, to the Trustee and under 11 U.S.C. § 543 any

                                                              8   custodian of such property must turn over such property to the Trustee.

                                                              9          15.     The Refundable Deposit is property of the Bankruptcy Estate, pursuant to 11 U.S.C.
Guttilla Murphy Anderson, P.C.




                                                             10   § 541(a). Amazon appears to suggest that it can force the Trustee to remain in the Arbitration Case
                            5415 E. High Street, Suite 200
                                 Phoenix, AZ 85054




                                                             11   which will result in the expenditure of the Refundable Deposit for expenses that will necessarily be
                                   (480) 304-8300




                                                             12   incurred by AAA if the arbitration moves forward.

                                                             13          16.     Amazon is incorrect. The Trustee does not intend to move forward in the

                                                             14   Arbitration Case on the claims previously asserted by Debtor and Amazon has presented no

                                                             15   authority under which it can force the Trustee to do so. If Amazon wishes to move forward with

                                                             16   its counterclaims against Debtor, it can simply assert them in a proof of claim in the Bankruptcy

                                                             17   Court. If, for some reason, the Trustee disputes the claims, or the amount of the claims, that can be

                                                             18   determined in the Bankruptcy Court.       (The only way Amazon can possibly recover on any

                                                             19   prepetition debt owed to it by Debtor is by making a claim in the Debtor’s bankruptcy case.

                                                             20   Otherwise, prepetition debts are discharged, pursuant to 11 U.S.C. § 727(b) )

                                                             21          17.     Even if Amazon successfully obtained stay relief to pursue its counterclaims in the

                                                             22   Arbitration Case when the Trustee has decided not to defend against the claims in that forum, it

                                                             23   would be patently inequitable for Amazon to force the use of Bankruptcy Estate property (i.e., the

                                                             24
                                                                                                                    4

                                                              Case 2:18-bk-11491-BKM          Doc 30 Filed 03/14/19 Entered 03/14/19 12:00:35               Desc
                                                                                              Main Document    Page 4 of 7
                                                              1   Refundable Deposit) to subsidize the litigation (via payments to arbitrators) to the detriment of all

                                                              2   the other creditors in the Bankruptcy Case. In fact, by using Bankruptcy Estate property for this

                                                              3   purpose, Amazon would actually diminish the chances of any recovery on any claim it

                                                              4   subsequently made in the Bankruptcy Case based upon any Arbitration award.

                                                              5          18.      Accordingly, the Trustee requests an Order from this Court directing AAA to turn

                                                              6   over to the Trustee the Refundable Deposit. In order to expedite the administration of this case,

                                                              7   delivery of the Refundable Deposit is requested to be provided within ten (10) days of entry of an

                                                              8   Order compelling turnover.

                                                              9          WHEREFORE, Trustee respectfully requests an order of this Court directing and
Guttilla Murphy Anderson, P.C.




                                                             10   compelling AAA to turn over the Refundable Deposit to the Trustee, within ten (10) days of the
                            5415 E. High Street, Suite 200
                                 Phoenix, AZ 85054




                                                             11   date the Order is entered, and for such other and further relief as is just and proper.
                                   (480) 304-8300




                                                             12          Respectfully submitted this 14th day of March, 2019.
                                                             13                                          GUTTILLA MURPHY ANDERSON
                                                             14                                          /s/ Alisan M. B. Patten
                                                                                                         Alisan M. B. Patten
                                                             15                                          Attorneys for the Chapter 7 Trustee
                                                             16
                                                                  Copy of the foregoing mailed,
                                                             17   and emailed where indicated,
                                                                  on March 14, 2019, to:
                                                             18
                                                                  Lance Tanaka
                                                             19   American Arbitration Association
                                                                  16 Market Square
                                                             20   1400 16th Street, Suite 400
                                                                  Denver, CO 80202
                                                             21   LanceTanaka@adr.org
                                                             22   American Arbitration Association
                                                                  45 E. River Park Place West
                                                             23   Suite 308
                                                                  Fresno, CA 93720
                                                             24
                                                                                                                     5

                                                              Case 2:18-bk-11491-BKM           Doc 30 Filed 03/14/19 Entered 03/14/19 12:00:35              Desc
                                                                                               Main Document    Page 5 of 7
                                                              1   American Arbitration Association
                                                                  120 Broadway
                                                              2   21st Floor
                                                                  New York, NY 10271
                                                              3
                                                                  Robert E. Miller and John Goldmark
                                                              4   Davis Wright Tremaine
                                                                  777 108th Avenue NE
                                                              5   Suite 2300
                                                                  Bellevue, WA 98004
                                                              6   robertmiller@dwt.com
                                                                  johngoldmark@dwt.com
                                                              7   Attorneys for Amazon Inc., Amazon Services LLC and Amazon Capital Services, Inc.

                                                              8   Pennies2Platinum Business Solutions Inc. dba Pennies 2 Platinum, Inc.
                                                                  7350 S. Kyrene Road, Suite 104
                                                              9   Tempe, AZ 85283
Guttilla Murphy Anderson, P.C.




                                                             10   Julia Marie Williams
                            5415 E. High Street, Suite 200




                                                                  Law Offices of Julia M. Williams
                                 Phoenix, AZ 85054




                                                             11   5080 Shoreham Place, Suite 200
                                   (480) 304-8300




                                                                  San Diego, CA 92122
                                                             12   julia@juliawilliamslaw.com
                                                                  Counsel for Debtor Pennies2Platinum Business Solutions, Inc., Yagoozon, Inc.
                                                             13
                                                                  Randy Nussbaum
                                                             14   Sacks Tierney P.A.
                                                                  4250 North Drinkwater Blvd., Fourth Floor
                                                             15   Scottsdale, Arizona 85251-3647
                                                                  randy.nussbaum@sackstierney.com
                                                             16   Counsel for Pennies2Platinum Business Solutions, Inc., Yagoozon, Inc.

                                                             17   Justin Ligeri
                                                                  401 W. Baseline Road, Suite 108
                                                             18   Tempe, AZ 85283

                                                             19   Justin Ligeri
                                                                  7350 S. Kyrene Road, Suite 104
                                                             20   Tempe, AZ 85283

                                                             21   Justin Ligeri
                                                                  435 12th Street West, Ste. 111
                                                             22   Bradenton, FL 34205

                                                             23   /
                                                                  //
                                                             24
                                                                                                                  6

                                                              Case 2:18-bk-11491-BKM          Doc 30 Filed 03/14/19 Entered 03/14/19 12:00:35        Desc
                                                                                              Main Document    Page 6 of 7
                                                              1   Justin Ligeri
                                                                  18633 San Rio Circle
                                                              2   Lutz, FL 33549

                                                              3   Office of the United States Trustee
                                                                  230 N. First Ave., Suite 204
                                                              4   Phoenix, AZ 85003-1706

                                                              5   /s/ Karen Plum
                                                              6

                                                              7   2695-001(361842)


                                                              8

                                                              9
Guttilla Murphy Anderson, P.C.




                                                             10
                            5415 E. High Street, Suite 200
                                 Phoenix, AZ 85054




                                                             11
                                   (480) 304-8300




                                                             12

                                                             13

                                                             14

                                                             15

                                                             16

                                                             17

                                                             18

                                                             19

                                                             20

                                                             21

                                                             22

                                                             23

                                                             24
                                                                                                              7

                                                              Case 2:18-bk-11491-BKM         Doc 30 Filed 03/14/19 Entered 03/14/19 12:00:35   Desc
                                                                                             Main Document    Page 7 of 7
